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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA

VERSUS                                                            CRIMINAL NO. 1:03cr83WJG-1

MARIO QUNTRAY BURKS


               ORDER GRANTING THE UNITED STATES OF AMERICA’S
             REQUEST TO DELAY DEFENDANT’S RELEASE FOR TEN DAYS

       THIS MATTER is before the Court on the motion ore tenus of the United States of

America [United States] to delay Defendant Mario Quntray Burk’s release for ten days, and the

Court, having been fully advised in the premises, finds as follows:

       1.      All parties have agreed that as a result of United States Sentencing Guidelines

               Amendment 706, as amended by Amendment 711, Defendant is eligible for a

               reduction in sentence, and all parties have executed an order to that effect.

       2.      The United States requests that the release of Defendant be delayed for ten

               calendar days from the date of the filing of the Court’s Order granting the

               reduction. This period of delay will enable the Bureau of Prisons (1) to review

               Defendant for possible civil commitment as a sexually dangerous person, as

               required by 18 U.S.C. § 4248; (2) to notify victims and witnesses of the release of

               an offender as required by 18 U.S.C. § 3771; (3) to notify law enforcement

               officials and sex offender registration officials of the release of a violent offender

               or sex offender pursuant to 18 U.S.C. § 4042(b) and (c); and (4) to permit

               adequate time to collect DNA samples pursuant to 42 U.S.C. § 14135a.

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        The Court, having considered the United States’s motion, finds that the motion is well

taken and should be granted. It is therefore,

        ORDERED AND ADJUDGED that for the reasons set forth herein, Defendant Mario

Quntray Burk’s release from the Bureau of Prisons shall be delayed for ten calendar days from

the date of filing of this Order.

        SO ORDERED AND ADJUDGED this the 1st day of April, 2008.




                                                UNITED STATES SENIOR DISTRICT JUDGE




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